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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                          )
                                                    )
        Plaintiff,                                  )
                                                    )
        v.                                          )
                                                    )
                                                              Civil Action No. 23-2065 (ABJ)
 APPROXIMATELY 523,507 BARRELS OF                   )
 STRAIGHT RUN FUEL OIL FORMERLY                     )
 ABOARD THE CRUDE OIL TANKER                        )
 ABYSS WITH INTERNATIONAL                           )
 MARITIME NUMBER 9157765,                           )
                                                    )
        Defendant.                                  )

                                             ORDER

       Upon consideration of the Government’s Motion to Unseal, it is:

       ORDERED that the Verified Complaint, the instant Motion, this Order, other pleadings,

files, and records be unsealed at 10:30 AM on February 2, 2024, and the Clerk of Court is directed

to enter those materials on the public docket at that time.

                       1st day of February, 2024.
       SO ORDERED this _____




                                       ___________________________________

                                         AMY BERMAN JACKSON
                                         United States District Judge
